           Case 2:11-cv-02043-JLR Document 54 Filed 01/30/12 Page 1 of 5




 1                                                           THE HONORABLE RICHARD A. JONES

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 7                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE
 9   THE INSTITUTE OF CETACEAN                 )
     RESEARCH, a Japanese research foundation; )
10                                             )
     KYODO SENPAKU KAISHA, LTD., a
11   Japanese corporation; TOMOYUKI OGAWA, )
                                               )        Case No.: 2:11-cv-02043-RAJ
     an individual; and TOSHIYUKI MIURA, an )
12   individual,                               )        DECLARATION OF DAN HARRIS IN
                                               )        SUPPORT OF DEFENDANTS’ RESPONSE
13                          Plaintiffs,        )        IN OPPOSITION TO PLAINTIFFS’
                                               )        MOTION FOR PRELIMINARY
14                                             )        INJUNCTION
             v.
                                               )
15                                             )        NOTE ON MOTION CALENDAR:
     SEA SHEPHERD CONSERVATION
                                               )        FEBUARY 3, 2012
16   SOCIETY, an Oregon nonprofit corporation, )
     and PAUL WATSON, an individual,           )
17                                             )
18                          Defendants.        )
                                               )
19                                             )
     I, Dan Harris, declare as follows:
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            1.      I am the lead attorney for Defendants Sea Shepherd Conservation Society and Paul
21
     Watson in this case. I am over the age of 18 and competent to testify.
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            2.      Attached hereto as Exhibit 1 is a true and correct copy of Sea Shepherd’s Articles of
23
     Incorporation, filed in Oregon in 1981 to establish Sea Shepherd as a non-profit entity.
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            3.      Attached hereto as Exhibit 2 are true and correct copies of the registrations of all
25
     three vessels involved in Sea Shepherd’s activities in the Southern Ocean.
26
     DECLARATION OF DAN HARRIS - 1
                                                                                        Ha r r is & Mou r e
                                                                                  A Professional Limited Liability Company
                                                                                       600 Stewart Street, Suite 1200
                                                                                            Seattle, WA 98101
                                                                                          Phone: (206) 224-5657
                                                                                           Fax: (206) 224-5659
           Case 2:11-cv-02043-JLR Document 54 Filed 01/30/12 Page 2 of 5




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            4.      Attached hereto as Exhibit 3 is a true and correct copy of the Australian federal court
 2
     decision in Humane Society International, Inc. v. Kyodo Senpaku Kaisha, Ltd., [2008] FCA 3 (15
 3
     January 2008), finding Plaintiffs’ whaling activities illegal.
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            5.      Attached hereto as Exhibit 4 is a true and correct copy of the press release issued by
 5
     the International Court of Justice regarding Australia’s lawsuit against Japan for illegal whaling.
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            6.      Attached hereto as Exhibit 5 is a true and correct copy of the press release issued by
 7
     the International Court of Justice regarding the briefing schedule for the lawsuit between Australia
 8
     and Japan regarding whaling.
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            7.      Attached hereto as Exhibit 6 is a true and correct copy of IWC Resolution 2005-1
10
     regarding Plaintiffs’ whaling activities.
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            8.      Attached hereto as Exhibit 7 is a true and correct copy of IWC Resolution 2007-1
12
     regarding Plaintiffs whaling activities.
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            9.      Since receiving notice of this lawsuit on or about December 9, 2011, Defendants’
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     legal team has worked diligently, despite the holidays and a significant snow storm, to locate an
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     expert regarding the scientific value, or lack thereof, of Plaintiffs’ so-called “research whaling.” We
16
     were able to locate two whale experts (Dr. Phillip Clapham of NOAA here in Seattle and Dr. Scott
17
     Baker of Oregon State University) who stated that they wanted to and would testify to the fact that
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     Plaintiffs’ whaling activities are commercial in nature and are committed only under the guise of
19
     “scientific research.” In the end though, both of these whale scientists were not able to testify in this
20
     case because of their governmental obligations. The U.S. government instructed Dr. Clapham not to
21
     testify and Dr. Baker concluded that he should not testify because of his role on a U.S. Government
22
     Science Committee regarding international whaling. This alone highlights the extraordinarily
23
     sensitive political and foreign relations issues involved in this case.
24
            10.     Due to the short timeframe Defendants have been forced to respond to Plaintiffs’
25
     allegations, Defendants have been prejudiced because they simply have not been given enough time
26
     DECLARATION OF DAN HARRIS - 2
                                                                                         Ha r r is & Mou r e
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           Case 2:11-cv-02043-JLR Document 54 Filed 01/30/12 Page 3 of 5




 1
     to secure a top level scientist to testify regarding the lack of scientific value of Plaintiffs’ so-called
 2
     “research” whaling.
 3
             11.     Defendants will continue to seek out a world-class scientist capable of testifying on
 4
     these issues.
 5
             12.     In light of Defendants’ inability to secure testimony at this time, Defendants are
 6
     submitting academic articles illustrating the many defects in Plaintiffs’ “research” whaling
 7
     allegations.
 8
             13.     Attached hereto as Exhibit 8 is a true and correct copy of “The whaling issue:
 9
     Conservation, confusion, and casuistry” authored by Phillip J. Clapham, Simon Childerhouse,
10
     Nicolas J. Gales, Lorenzo Rojas-Bracho, Michael F. Tillman, and Robert L. Brownell Jr.
11
             14.     Attached hereto as Exhibit 9 is a true and correct copy of “Whaling as Science”
12
     authored by Phillip J. Clapham, Per Berggren, Simon Childerhouse, Nancy A. Friday, Toshio
13
     Kasuya, Laurence Kell, Karl-Hermann Kock, Silvia Manzanilla-Naim, Giuseppe Notabartolo Di
14
     Sciara, William F. Perrin, Andrew J. Read, Randall R. Reeves, Emer Rogan, Lorenzo Rojas-Bracho,
15
     Tim D. Smith, Michael Stachowitsch, Barbara L. Taylor, Deborah Thiele, Paul R. Wade, and Robert
16
     L. Brownell Jr.
17
             15.     Attached hereto as Exhibit 10 is a true and correct copy of “How ‘scientific’ is
18
     Japan’s scientific whaling?” by Phillip J. Clapham, Ph.D.
19
             16.     Attached hereto as Exhibit 11 is a true and correct copy of a news article dated
20
     January 11, 2012 regarding Plaintiffs’ entry into Australian waters.
21
             17.     Attached hereto as Exhibit 12 is a true and correct copy of a news article dated
22
     January 25, 2012 regarding Plaintiffs’ following of Defendants’ vessels.
23
             18.     Attached hereto as Exhibit 13 is a true and correct copy of a news article dated
24
     December 19, 2011 regarding Japan’s use of tsunami relief funds for whaling.
25
             19.     Attached hereto as Exhibit 14 is a true and correct copy of a DVD made up of 22
26
     DECLARATION OF DAN HARRIS - 3
                                                                                           Ha r r is & Mou r e
                                                                                     A Professional Limited Liability Company
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             Case 2:11-cv-02043-JLR Document 54 Filed 01/30/12 Page 4 of 5




 1
     clips (total length of this footage is less than ten minutes) from the Animal Planet television show
 2
     Whale Wars. These clips come from the first three seasons of the show, and so it is made up of the
 3
     2008, 2009, and 2010 whaling seasons. Since these clips all come from the television show, they
 4
     were all filmed and recorded by presumably unbiased professional journalists. The 22 clips consist
 5
     of the following:
 6

 7
     Clips    Description of Footage
 8
     1-2      Sea Shepherd stresses need to avoid injuring anyone/describes rationale behind butyric acid
 9
     3-4      Description of the environmental impact of whaling
10
     5        Sea Shepherd acts to enforce U.N. World Charter for Nature
11
     6-8      Sea Shepherd stresses need to avoid injuring anyone/describes rationale behind butyric acid
12            Sea Shepherd stresses avoiding aiming butyric acid near anyone. Offers to assist allegedly
     9-10     injured Japanese whaler
13
     11       Description of environmental impact of whaling
14
     12       Sea Shepherd acts to enforce international law
15
     13       Sea Shepherd stresses need to avoid injuring anyone
16
              Paul Watson says Sea Shepherd has never rammed Japanese whaling boats and doesn't think
     14       it ever will
17
              Sea Shepherd offers to assist Japanese whalers in finding one of their missing crew
18   15
              Japanese whalers throw large metal objects at Sea Shepherd crew
19   16
              Paul Watson notes how Sea Shepherd does not throw things at the Japanese whalers, but the
20   17       Japanese deliberately try to hit Sea Shepherd’s crew with what they throw
              Sea Shepherd helicopter pilot instructs Sea Shepherd crew to throw butyric acid on the port
21   18       bow because there is nobody there
22            Description of the environmental impact of whaling
     19-20
23            Sea Shepherd explains that its goal is to interfere so as to prevent whaling
     21
24            Japanese whaling ship slices much smaller Sea Shepherd vessel (the ADY GIL) in half,
     22       putting lives of Sea Shepherd crew at risk.
25

26
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Case 2:11-cv-02043-JLR Document 54 Filed 01/30/12 Page 5 of 5
